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MD- 6A



                                    United States District Court
                                              for the
                                    Middle District of Louisiana
                              Notice of Presentence Report Disclosure

United States of America                                                 Docket No. 22-29-JWD-RLB

vs.

Grant McKay Durtschi

Take notice that the presentence report (sealed) will be accessible to the parties from the court
record beginning April 20, 2023, at 12:30 p.m. Objections to the presentence report must be
communicated in writing electronically to the probation officer at ari_gatsios@lamd.uscourts.gov
no later than 4:00 p.m. on May 4, 2023.

Forms MD-2 & 2a (Objections to the Presentence Report), required for this purpose, are available
for download at http://www.lamd.uscourts.gov/. Pursuant to Local Criminal Rule 32, the
presentence report shall be deemed to have been disclosed one day after a copy of the report is
filed electronically. Counsel will be provided the right to access the presentence report by the U.S.
Probation Officer at the time of the electronic disclosure and counsel shall retrieve their copy of
the report through their CM/ECF account.

A revised presentence report, if necessary, and/or the addendum to the presentence report will be
filed in the court record seven days prior to sentencing. Any supplemental addendum to the
presentence report will be filed immediately upon its completion.

(Pursuant to General Order No. 2015-02, sentencing memoranda are no longer submitted to the
U.S. Probation Office for filing, but should be filed by counsel, under SEAL, with counsel
providing copies to the U.S. Probation Office and opposing counsel, at least fourteen days prior to
the sentencing date.)

Note: Attorneys are responsible for providing their client with a copy of the presentence report prior to the final date
for submitting objections to the presentence report. Objections may NOT be submitted by the Court’s CM/ECF
system.

                                                                Respectfully,

                                                                Clarence P. Rambo
                                                                Chief U.S. Probation Officer


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                                                                ______________________________
                                                                Ari Gatsios
                                                                U.S. Probation Officer Specialist
                                                                April 20, 2023
